Case 1:19-cv-23100-DPG Document 11-1 Entered on FLSD Docket 08/21/2019 Page 1 of 17




               Composite
               Exhibit 1
                        to
      Defendant’s Response in Opposition to
         Plaintiffs’ Memorandum of Law
      in Support of Abstention and Remand
Case 1:19-cv-23100-DPG Document 11-1 Entered on FLSD Docket 08/21/2019 Page 2 of 17
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Outcome analytics by party




Outcome analytics by party (20 of 13,963)

1. Other
   Other - August 6, 2019: Plaintiff (CHELSEA POLITE), and Defendant (ROYA CARIBBEAN CRUISES 1050 CARIBBEAN WAY
MIAMI FLORIDA) left the case 1 day after the docket opened
   1 Day to outcome
    Docket opened - August 5, 2019


Polite v. ROYA CARIBBEAN CRUISES                                                                                Docket


S.D.Fla.   |    August 5, 2019       |    1:19-CV-23258

Torts/Negligence > Personal Injury > Other Federal Actions



2. Uncontested Dismissal
   Uncontested Dismissal - August 12, 2019: Plaintiffs (MCKEE LAW GROUP LLC (THE), BRILL AND ASSOCIATES), and
Defendants (JOE J FISHER II P C, BRYAN BLEVINS, PROVOST UMPHREY LAW FIRM LLP) left the case 12 days after the docket
opened
   12 Days to outcome
    Docket opened - July 31, 2019


The McKee Law Group LLC et al v. Fisher, II et al                                                               Docket


S.D.Fla.   |    July 31, 2019    |       0:19-CV-61928

Torts/Negligence > Personal Injury > Other Federal Actions
Allegations : Removed from Circuit Court of Florida in and for Seventeenth Judicial Circuit, Broward County, under case
no. CACE-2019-012961. Defendant intentionally interfered with plaintiffs’ contracts with their judgment creditor client
victims by refusing to produce the documents pertaining to requisites for pursuit of collection, and made defamatory
statements against them.
Damages : Order to compel.


3. Other


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Case 1:19-cv-23100-DPG Document 11-1 Entered on FLSD Docket 08/21/2019 Page 3 of 17
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   Other - August 1, 2019: Plaintiff (CHERYL ROBINSON), and Defendant (NCL (Bahamas) Ltd) left the case 1 day after the
docket opened
   1 Day to outcome
    Docket opened - July 31, 2019


Robinson v. NCL (Bahamas) Ltd., A Bermuda Company, d/b/a Norwegian Cruise Lines                                        Docket


S.D.Fla.   |    July 31, 2019   |   1:19-CV-23166

Torts/Negligence > Marine



4. Other
   Other - July 30, 2019: Plaintiff (LINDA DEANE), and Defendants (ROYAL CARIBBEAN CRUISES LTD, LIBERIAN CORP,
DELISLE WALWYN AND CO LTD, et. al.) left the case 1 day after the docket opened
   1 Day to outcome
    Docket opened - July 29, 2019


Deane v. Royal Caribbean Cruises, Ltd., a Liberian Corporation et al                                                   Docket


S.D.Fla.   |    July 29, 2019   |   1:19-CV-23126

Torts/Negligence > Personal Injury > Other Federal Actions



5. Uncontested Dismissal
   Uncontested Dismissal - August 2, 2019: Defendants (LITTON LOAN SERVICING NOW OCWEN LOAN SERVICING LLC,
BANK OF AMERICA NA, LASALLE BANK NA, et. al.) left the case 7 days after the docket opened
   7 Days to outcome
    Docket opened - July 26, 2019


Fenn et al v. Litton Loan Servicing, Now Ocwen Loan Servicing, LLC et al                                               Docket


S.D.Fla.   |    July 26, 2019   |   9:19-CV-81066

Torts/Negligence > Personal Property > Other Fraud
Allegations : Defendants devised a scheme to improperly prevent plaintiffs from presenting their case and defenses in a
foreclosure action filed against them, and to unlawfully influence the court in its foreclosure decision against the plaintiffs.
Damages : Treble damages, declaratory and injunctive relief, restitution, disgorgement, fees and costs.


6. Other

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   Other - July 26, 2019: Plaintiff (ERIKA ROBERTS), and Defendant (Carnival Corp) left the case 1 day after the docket
opened
   1 Day to outcome
    Docket opened - July 25, 2019


Roberts v. Carnival Cruise Lines, Inc. d/b/a Carnival Cruise Lines                                                 Docket


S.D.Fla.   |    July 25, 2019   |   1:19-CV-23103

Torts/Negligence > Personal Injury > Other Federal Actions



7. Other
   Other - July 24, 2019: Plaintiff (ADOLFO LEBERBAUM), and Defendant (Royal Caribbean Cruise Line AS) left the case 1
day after the docket opened
   1 Day to outcome
    Docket opened - July 23, 2019


Leberbaum v. ROYAL CARIBBEAN CRUISE LINE LTD.                                                                      Docket


S.D.Fla.   |    July 23, 2019   |   1:19-CV-23057

Torts/Negligence > Marine



8. Uncontested Dismissal
   Uncontested Dismissal - July 24, 2019: Defendants (WILLIAM SNYDER, WESTWAY TOWING, FORT LAUDERDALE CODE
ENFORCEMENT) left the case 2 days after the docket opened
   2 Days to outcome
    Docket opened - July 22, 2019


George v. Snyder et al                                                                                             Docket


S.D.Fla.   |    July 22, 2019   |   0:19-CV-61827

Torts/Negligence > Personal Property > Other Fraud



9. Uncontested Dismissal
   Uncontested Dismissal - July 22, 2019: Defendants (MIAMI DADE COUNTY, Jackson Therapy Partners LLC) left the case 3
days after the docket opened


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   3 Days to outcome
    Docket opened - July 19, 2019


Adacia v. Miami Dade County et al                                                                                Docket


S.D.Fla.   |    July 19, 2019   |   1:19-CV-23026

Torts/Negligence > Personal Injury > Other Federal Actions



10. Docketed Elsewhere > Remanded
    Remanded - July 22, 2019: Plaintiff (COLBY VICTORIA SMITH), and Defendant (TARGET CORP) left the case 6 days after
the docket opened
   6 Days to outcome
    Docket opened - July 16, 2019


Smith v. Target Corporation                                                                                      Docket


S.D.Fla.   |    July 16, 2019   |   1:19-CV-22940

Torts/Negligence > Personal Injury > Other Federal Actions
Allegations : Removed from the Circuit Court of the Eleventh Judicial Circuit in and for Miami-Dade County, Florida, with
Case No. 19-016855-CA 01. Plaintiff invitee sustained serious physical injury when she bumped her left ankle on a metal
attachment sticking out from the register inside defendant’s premises.
Damages : In excess of $15,000 in damages and costs.


11. Uncontested Dismissal
    Uncontested Dismissal - July 18, 2019: Defendant (RANA FURNITURE CO) left the case 2 days after the docket opened
   2 Days to outcome
    Docket opened - July 16, 2019


Saunders et al v. Rana Furniture Company                                                                         Docket


S.D.Fla.   |    July 16, 2019   |   1:19-CV-22949

Torts/Negligence > Personal Property > Other Fraud
Allegations : Defendant falsely advertised an “American Bedding Company” brand bed mattress to plaintiff, but delivered
a totally different and defective mattress to her home.
Damages : Actual damages, $6,000 in compensatory damages and $500,000 in punitive damages, declaratory and
injunctive relief and $10,000 in civil penalty.



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12. Uncontested Dismissal
   Uncontested Dismissal - August 4, 2019: Plaintiff (DALE DIVELY), and Defendants (PREMIER COMPOUNDING PHARMACY
INC, TRACY L CHRISTIAN) left the case 23 days after the docket opened
   23 Days to outcome
    Docket opened - July 12, 2019


Dively v. Premier Compounding Pharmacy, INC. et al                                                                Docket


S.D.Fla.   |    July 12, 2019       |    9:19-CV-80921

Torts/Negligence > Federal Employers Liability
Allegations : Defendant’s president of the Company knowingly paid plaintiff employee less income than he actually
earned, in breach of the contract.
Damages : Compensatory, liquidated, treble and statutory damages, accounting, fees and costs.


13. Uncontested Dismissal
    Uncontested Dismissal - August 6, 2019: Plaintiff (JESSICA LOPEZ), and Defendant (CB RICHARD ELLIS INC) left the case
25 days after the docket opened
   25 Days to outcome
    Docket opened - July 12, 2019


Lopez v. CB Richard Ellis, Inc.                                                                                   Docket


S.D.Fla.   |    July 12, 2019       |    1:19-CV-22909

Torts/Negligence > Personal Injury > Other Federal Actions
Allegations : Removed from the 15th Judicial Circuit Court in and for Palm Beach County, Florida, case no. 2018-39024 CA
22. Defendant failed to provide non-slip surface on its stairwell, causing the plaintiff to slip, fall and sustain injuries.
Damages : In excess of $15,000, interest and costs.


14. Other
    Other - July 10, 2019: Plaintiff (LANTRA SNELL), and Defendant (WAL MART STORES EAST LP) left the case 1 day after
the docket opened
   1 Day to outcome
    Docket opened - July 9, 2019


Snell v. Wal-Mart Stores East, L.P.                                                                               Docket


S.D.Fla.   |    July 9, 2019    |       1:19-CV-22823


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Torts/Negligence > Personal Injury > Other Federal Actions



15. Docketed Elsewhere > Remanded
   Remanded - August 6, 2019: Plaintiff (LANTRA SNELL), and Defendant (WAL MART STORES EAST LP) left the case 28
days after the docket opened
   28 Days to outcome
    Docket opened - July 9, 2019


Snell v. Wal-Mart Stores East, L.P.                                                                               Docket


S.D.Fla.   |    July 9, 2019    |       1:19-CV-22825

Torts/Negligence > Personal Injury > Other Federal Actions
Allegations : Removed from the 11th Judicial Circuit Court, Miami-Dade County, Florida, with Case No.
2019-014799-CA-01. Plaintiff slipped, fell and sustained injuries due to a hazardous condition on defendant’s premises.
Damages : Compensatory damages, and costs.


16. Uncontested Dismissal
   Uncontested Dismissal - July 31, 2019: Defendants (BROWARD COUNTY TRANSIT RISK MANAGEMENT DIVISION,
JACQUELINE ARDILES) left the case 29 days after the docket opened
   29 Days to outcome
    Docket opened - July 2, 2019


Clarke v. Broward County Transit Risk Management Division et al                                                   Docket


S.D.Fla.   |    July 2, 2019    |       0:19-CV-61653

Torts/Negligence > Personal Injury > Other Federal Actions



17. Docketed Elsewhere > Consolidated
  Consolidated - July 30, 2019: Plaintiffs (PHILIP SCHENTRUP, APRIL SCHENTRUP), and Defendant (UNITED STATES OF
AMERICA) left the case 32 days after the docket opened
   32 Days to outcome
    Docket opened - June 28, 2019


Schentrup et al v. UNITED STATES OF AMERICA                                                                       Docket


S.D.Fla.   |    June 28, 2019       |    0:19-CV-61623

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Torts/Negligence > Personal Injury > Other Federal Actions
Allegations : Defendant’s failure to handle and investigate tips concerning potential mass school shooting in a reasonable
manner resulted in the death of plaintiffs’ decedent after she was executed in her school by a gunman.
Damages : Compensatory damages and costs.


18. Docketed Elsewhere > Referred to ADR
   Referred to ADR - July 22, 2019: Plaintiff (MARKO KAPA), and Defendant (MSC Cruises SA) left the case 25 days after the
docket opened
   25 Days to outcome
    Docket opened - June 27, 2019


Kapa v. MSC Cruises, S.A.                                                                                        Docket


S.D.Fla.   |    June 27, 2019   |   1:19-CV-22681

Torts/Negligence > Personal Injury > Other Federal Actions
Allegations : Removed from the Circuit Court of the 11th Judicial Circuit in and for Miami-Dade County, Florida, Case No.
2019-01146 CA 01. Defendant failed to provide plaintiff with a safe place work at the vessel, causing him to fall several
stories and sustain serious injuries after he was instructed by his supervisor to climb on top of an elevator unit which
suddenly and without warning started rapidly moving.
Damages : Punitive damages and fees.


19. Other
   Other - June 27, 2019: Plaintiff (ROSS HARTOG), and Defendants (AMERICAN EXPRESS CO, AMERICAN EXPRESS TRAVEL
RELATED SERVICES CO INC, American Express National Bank) left the case 1 day after the docket opened
   1 Day to outcome
    Docket opened - June 26, 2019


Hartog v. American Express Company et al                                                                         Docket


S.D.Fla.   |    June 26, 2019   |   9:19-CV-80852

Torts/Negligence > Personal Property > Other Fraud



20. Docketed Elsewhere > Remanded
    Remanded - August 6, 2019: Plaintiffs (joyce zidell, JAMIE H ZIDELL), and Defendants (MICHAEL ZIDELL, JEFFREY ZIDELL,
LISA ZIDELL, et. al.) left the case 42 days after the docket opened
   42 Days to outcome
    Docket opened - June 25, 2019


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Zidell et al v. Zidell et al                                                                                   Docket


S.D.Fla.   |    June 25, 2019   |   1:19-CV-22640

Torts/Negligence > Personal Injury > Other Federal Actions
Allegations : Removed from the Circuit Court of the eleventh Circuit in and for Miami-Dade County, Florida, under case
no. 2019-163423-CA30. Defendants committed elder abuse by conspiring to obtain the funds of plaintiff’s 84-year-old ward,
the defendants’ mother, following her husband’s death.
Damages : Actual, treble, compensatory, consequential and punitive damages, interest, fees and costs.




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 Outcome analytics by party




 Outcome analytics by party (20 of 698)

 1. Other
     Other - July 15, 2019: Plaintiff (JUNE AZORE), and Defendant (UNITED STATES OF AMERICA) left the case 77 days after
 the docket opened
    77 Days to outcome
    Docket opened - April 29, 2019


 Azore v. United States of America                                                                                      Docket


 S.D.N.Y.   |    April 29, 2019   |   1:19-CV-03791

 Torts/Negligence > Malpractice > Medical
 Allegations : Defendants departed from accepted standards of medical care, and improperly conducted
 hysterosalpingogram (HSG) test despite her pregnancy, causing the premature birth of plaintiff’s baby.
 Damages : $100,000,000, disbursements, and costs.


 2. Docketed Elsewhere > Remanded
    Remanded - May 31, 2019: Plaintiff (JAMAYA MELVIN), and Defendants (RAPHAEL K OSEI, ELIZABETH CLARISSA
 SCHWARTZ, CORNERSTONE FAMILY HEALTHCARE, et. al.) left the case 49 days after the docket opened
    49 Days to outcome
    Docket opened - April 12, 2019


 Melvin v. Osei et al                                                                                                   Docket


 S.D.N.Y.   |    April 12, 2019   |   1:19-CV-03298

 Torts/Negligence > Malpractice > Medical
 Allegations : Removed from the Supreme Court of the State of New York, County of Orange, under index no.
 EF008926-2018. Defendants committed medical malpractice by unskillfully rendering obstetrical and gynecological care to
 plaintiff, and by failing to adequately inform the plaintiff about the risks, benefits and alternatives related to the treatment
 of her medical conditions, resulting in severe permanent injuries.
 Damages : In excess of the jurisdictional limits of the lower courts, disbursements and costs.



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 3. Uncontested Dismissal
    Uncontested Dismissal - May 20, 2019: Plaintiff (JOSE SANCHEZ) left the case 38 days after the docket opened
    38 Days to outcome
    Docket opened - April 12, 2019


 Sanchez v. Urban Health Plan et al                                                                                Docket


 S.D.N.Y.   |    April 12, 2019       |    1:19-CV-03297

 Torts/Negligence > Malpractice > Medical
 Allegations : Removed from the Supreme Court of the State of New York, County of Bronx, Index No. 31200-2018E.
 Defendants committed medical malpractice by prescribing to plaintiff the wrong medication to treat his hand fungus,
 causing him to sustain serious personal injuries.
 Damages : In excess of the jurisdictional limits, disbursements and costs.


 4. Uncontested Dismissal
    Uncontested Dismissal - June 6, 2019: Plaintiff (CHAYA GREENWALD), and Defendants (REFUAH HEALTH CENTER INC,
 SHLOMO EISENBERG) left the case 59 days after the docket opened
    59 Days to outcome
    Docket opened - April 8, 2019


 Greenwald v. Refuah Health Center, Inc. et al                                                                     Docket


 S.D.N.Y.   |    April 8, 2019    |       7:19-CV-03098

 Torts/Negligence > Malpractice > Medical
 Allegations : Removed from Supreme Court of New York for and in County of Rockland, docketed as 037083/2018.
 Plaintiff was a patient under the care and treatment of defendants, and underwent various dental procedures performed
 by them. The care and treatment, rendered by the defendants, their agents, servants and employees on the aforesaid date,
 was unskillful, improper, incorrect and constituted dental malpractice in that the care and treatment failed to follow good
 and accepted custom and proper dental practice and procedures of the dental profession in the community where the care
 and treatment was rendered.
 Damages : In excess of jurisdictional limits, disbursements, and costs.


 5. Uncontested Dismissal
   Uncontested Dismissal - May 24, 2019: Plaintiff (IVELISSE CIPRIAN), and Defendants (DENTAL ORAL SURGERY,
 MANHATTAN ORAL FACIAL SURGERY LLC, DMD BRADLEY HIRSCH, et. al.) left the case 106 days after the docket opened
    106 Days to outcome
    Docket opened - February 7, 2019




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 Ciprian v. Dental Oral Surgery et al                                                                                 Docket


 S.D.N.Y.   |    February 7, 2019   |   1:19-CV-01164

 Torts/Negligence > Malpractice > Medical
 Allegations : Removed from the Supreme Court of the State of New York, County of Bronx, Index No. 24986/2018E.
 Defendants provided plaintiff with substandard oral and maxillofacial surgical treatment to plaintiff, causing her to sustain
 grave bodily injury and complications.
 Damages : In excess of the jurisdictional limits, disbursements, interest and costs.


 6. Other
    Other - February 14, 2019: Plaintiffs (KURT HIEBAUM, MANDY POULIN), and Defendants (OPEN DOOR FAMILY MEDICAL
 CENTER INC, THOMAS YUEN) left the case 7 days after the docket opened
    7 Days to outcome
    Docket opened - February 7, 2019


 Hiebaum et al v. Open Door Family Medical Center, Inc. et al                                                         Docket


 S.D.N.Y.   |    February 7, 2019   |   7:19-CV-01168

 Torts/Negligence > Malpractice > Medical



 7. Uncontested Dismissal
   Uncontested Dismissal - April 24, 2019: Plaintiff (ANA CORDERO BARREIRO), and Defendant (UNITED STATES OF
 AMERICA) left the case 132 days after the docket opened
    132 Days to outcome
    Docket opened - December 13, 2018


 Cordero-Barreiro et al v. United States of America                                                                   Docket


 S.D.N.Y.   |    December 13, 2018      |   1:18-CV-11683

 Torts/Negligence > Malpractice > Medical
 Allegations : Defendant failed to provide proper care and treatment to plaintiff’s decedent, causing the decedent’s health
 to deteriorate which led to her wrongful death.
 Damages : $5,000,000 in damages, interest, fees and costs.


 8. Other
    Other - November 8, 2018: Plaintiff (KARLA LAMBERT), and Defendant (UNITED STATES OF AMERICA UNITED STATES

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 ATTORNEYS OFFICE SOUTHERN DISTRICT OF NEW YORK) left the case 8 days after the docket opened
    8 Days to outcome
    Docket opened - October 31, 2018


 Lambert v. United States Of America                                                                                  Docket


 S.D.N.Y.   |    October 31, 2018   |   1:18-CV-10084

 Torts/Negligence > Malpractice > Medical
 Allegations : Defendant obstetrician and gynecologists of Orange Regional Medical Center committed malpractice by
 leaving a surgical pad in plaintiff’s abdomen after a cesarean section procedure, causing the plaintiff to suffer severe pain
 and injuries.
 Damages : $5,000,000, interest, disbursements and costs.


 9. Docketed Elsewhere
    Docketed Elsewhere - December 6, 2018: Defendant (Mount Vernon Neighborhood Health Center Inc) left the case 50
 days after the docket opened
    50 Days to outcome
    Docket opened - October 17, 2018


 Rivera v. Arad et al                                                                                                 Docket


 S.D.N.Y.   |    October 17, 2018   |   7:18-CV-09506

 Torts/Negligence > Malpractice > Medical
 Allegations : Removed from the Supreme Court of the State of New York, County of Westchester, Index No. 65931/2018.
 Defendants caused plaintiff’s decedent’s wrongful death by negligently performing surgery for the installation of the
 ostomy, attempted repair of the retracted stoma and insertion of intubation tube to the decedent.
 Damages : In excess of the jurisdictional limits, disbursements and costs.


 10. Docketed Elsewhere
    Docketed Elsewhere - December 6, 2018: Plaintiff (JENNIFER RIVERA), and Defendants (JONATHAN ARAD M D,
 WESTCHESTER SURGICAL SPECIALIST PLLC, ST JOHNS RIVERSIDE HOSPITAL, et. al.) left the case 50 days after the docket
 opened
    50 Days to outcome
    Docket opened - October 17, 2018


 Rivera v. Arad et al                                                                                                 Docket


 S.D.N.Y.   |    October 17, 2018   |   7:18-CV-09506


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 Torts/Negligence > Malpractice > Medical
 Allegations : Removed from the Supreme Court of the State of New York, County of Westchester, Index No. 65931/2018.
 Defendants caused plaintiff’s decedent’s wrongful death by negligently performing surgery for the installation of the
 ostomy, attempted repair of the retracted stoma and insertion of intubation tube to the decedent.
 Damages : In excess of the jurisdictional limits, disbursements and costs.


 11. Uncontested Dismissal
    Uncontested Dismissal - March 18, 2019: Defendant (DR RENEE ROLSTON) left the case 153 days after the docket
 opened
    153 Days to outcome
    Docket opened - October 16, 2018


 Ampen v. Fainti et al                                                                                                 Docket


 S.D.N.Y.   |    October 16, 2018   |   1:18-CV-09474

 Torts/Negligence > Malpractice > Medical
 Allegations : Removed from the Supreme Court of New York, County of Bronx, case no. 26287/2015E. Defendants
 committed malpractice by failing to properly and timely treat plaintiff for her labor and delivery, causing her to suffer
 severe injuries.
 Damages : In excess of jurisdictional limits, disbursements and costs.


 12. Docketed Elsewhere
    Docketed Elsewhere - March 28, 2019: Plaintiff (AKUA AMPEN), and Defendants (DR PETER FAINTI, DR ALEXANDER
 KUCHEROV, DR HYE J HEO, et. al.) left the case 163 days after the docket opened
    163 Days to outcome
    Docket opened - October 16, 2018


 Ampen v. Fainti et al                                                                                                 Docket


 S.D.N.Y.   |    October 16, 2018   |   1:18-CV-09474

 Torts/Negligence > Malpractice > Medical
 Allegations : Removed from the Supreme Court of New York, County of Bronx, case no. 26287/2015E. Defendants
 committed malpractice by failing to properly and timely treat plaintiff for her labor and delivery, causing her to suffer
 severe injuries.
 Damages : In excess of jurisdictional limits, disbursements and costs.


 13. Docketed Elsewhere
    Docketed Elsewhere - March 28, 2019: Defendant (DR EVE KARKOWSKI) left the case 163 days after the docket opened
    163 Days to outcome
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Case 1:19-cv-23100-DPG Document 11-1 Entered on FLSD Docket 08/21/2019 Page 15 of 17
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    Docket opened - October 16, 2018


 Ampen v. Fainti et al                                                                                                 Docket


 S.D.N.Y.   |    October 16, 2018       |    1:18-CV-09474

 Torts/Negligence > Malpractice > Medical
 Allegations : Removed from the Supreme Court of New York, County of Bronx, case no. 26287/2015E. Defendants
 committed malpractice by failing to properly and timely treat plaintiff for her labor and delivery, causing her to suffer
 severe injuries.
 Damages : In excess of jurisdictional limits, disbursements and costs.


 14. Settled
    Settled - June 26, 2019: Plaintiff (MEGIN KLUNCK), and Defendants (NYC MEDICAL PRACTICE, PC, SERGEY VOSKIN M D,
 PA ALEXANDRA ELIZABETH BARKER) left the case 266 days after the docket opened
    266 Days to outcome
    Docket opened - October 3, 2018


 Klunck v. NYC Medical Practice, P.C. et al                                                                            Docket


 S.D.N.Y.   |    October 3, 2018    |       1:18-CV-09045

 Torts/Negligence > Malpractice > Medical
 Allegations : Defendant physician assistant negligently administered intradermal injections of Kenalog 40 to the forehead
 of plaintiff despite knowledge that the Kenalog 40 is suitable for intramuscular and intraarticular use only, causing the
 plaintiff to suffer significant facial cosmetic disfigurement.
 Damages : In excess of the jurisdictional limits, disbursements and costs.


 15. Other
     Other - October 12, 2018: Plaintiff (UNITED STATES), and Defendants (BENJAMIN J STRAUB M D, EDWARD AMELMAH M
 D, FARAH TAHER M D, et. al.) left the case 11 days after the docket opened
    11 Days to outcome
    Docket opened - October 1, 2018


 United States v. Straub et al                                                                                         Docket


 S.D.N.Y.   |    October 1, 2018    |       7:18-CV-08973

 Torts/Negligence > Malpractice > Medical




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 16. Other
     Other - September 18, 2018: Plaintiff (GABRIEL GONZALEZ), and Defendant (UNITED STATES OF AMERICA) left the case
 11 days after the docket opened
    11 Days to outcome
    Docket opened - September 7, 2018


 Gonzalez v. United States of America                                                                             Docket


 S.D.N.Y.   |    September 7, 2018     |   1:18-CV-08181

 Torts/Negligence > Malpractice > Medical



 17. Docketed Elsewhere > Transferred
   Transferred - July 26, 2018: Defendants (QUEENS MEDICAL CENTER, HAWAII RESIDENCY PROGRAM (HRP), DR
 MATTHEW DUMOUCHEL, et. al.) left the case 8 days after the docket opened
    8 Days to outcome
    Docket opened - July 18, 2018


 Krizek v. Queens Medical Center et al                                                                            Docket


 S.D.N.Y.   |    July 18, 2018   |   1:18-CV-06481

 Torts/Negligence > Malpractice > Medical
 Allegations : Defendants negligently attempted to place a cvc into the chest of plaintiff decedent without supervision of
 the ICU doctor, causing perforation and puncture of the decedent’s carotid artery which resulted in profuse bleeding.
 Damages : Actual, compensatory, and punitive damages, interest, and costs.


 18. Settled
    Settled - July 22, 2019: Plaintiffs (KHADIJA TRIGGS GOMEZ, KHADIJAH TRIGGS GOMEZ), and Defendant (UNITED STATES
 OF AMERICA) left the case 371 days after the docket opened
    371 Days to outcome
    Docket opened - July 16, 2018


 Triggs-Gomez v. United States Of America                                                                         Docket


 S.D.N.Y.   |    July 16, 2018   |   1:18-CV-06401

 Torts/Negligence > Malpractice > Medical
 Allegations : Defendant’s medical personnel failed to diagnose that plaintiff’s decedent was suffering from Metastatic
 Lung Cancer and failed to provide necessary treatment for lung cancer, resulting in his wrongful death.
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Case 1:19-cv-23100-DPG Document 11-1 Entered on FLSD Docket 08/21/2019 Page 17 of 17
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 Damages :      In excess of the jurisdictional limits, disbursements and costs.


 19. Docketed Elsewhere
    Docketed Elsewhere - August 31, 2018: Plaintiff (JOANNA M GARAY), and Defendant (KRISTEN SEMANISION) left the
 case 59 days after the docket opened
    59 Days to outcome
    Docket opened - July 3, 2018


 Garay v. Semanision                                                                                               Docket


 S.D.N.Y.   |    July 3, 2018    |       1:18-CV-06056

 Torts/Negligence > Malpractice > Medical
 Allegations : Removed from the Supreme Court of the State of New York, County of Bronx, under Case No. 22235/2018E.
 Defendant negligently provided obstetrical care and treatment to plaintiff, causing her to suffer injuries when she gave
 birth to a stillborn baby.
 Damages : In excess of the jurisdictional limits, interest, disbursements and costs.


 20. Uncontested Dismissal
     Uncontested Dismissal - February 13, 2019: Plaintiff (ERLINE KEITT), and Defendant (UNITED STATES OF AMERICA) left
 the case 232 days after the docket opened
    232 Days to outcome
    Docket opened - June 26, 2018


 Erline Keitt et al v. United States of America                                                                    Docket


 S.D.N.Y.   |    June 26, 2018       |    1:18-CV-05774

 Torts/Negligence > Malpractice > Medical
 Allegations : Defendants failed to use proper test and examinations in treating plaintiff’s decedent, causing him to suffer
 from undiagnosed esophageal carcinoma positive for malignancy and other injuries that led to his untimely death.
 Damages : $5 million, fees and costs.




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